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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                      (ALEXANDRIA DIVISION)

 IN RE CAPITAL ONE CONSUMER                                     )
 DATA SECURITY BREACH LITIGATION                                )     MDL No. 1:19-md-02915 (AJT)(JFA)
                                                                )
 _______________________________________                        )
                                                                )
 This Document Relates to ALL Cases                             )


          GITHUB INC.’S RESPONSE TO THE APPLICATION OF SABITA J. SONEJI
                  TO SERVE ON PLAINTIFFS’ STEERING COMMITTEE

            GitHub Inc. (“GitHub”) submits the following response to the Application of Sabita J.

 Soneji To Serve On Plaintiffs’ Steering Committee (the “Application”), Dkt. 114, to address

 certain mischaracterizations about GitHub’s involvement in the data breach at issue.

            The Application states that GitHub played a “role … in allowing broad distribution of the

 sensitive private data disclosed by Capital One.” (Id.) The Application goes on to repeat that

 “private data” was “sitting” on GitHub’s platform. (Id.) These statements are false. The file

 allegedly posted by Paige Thompson on GitHub on April 21, 2019, in fact contained no

 personally identifiable information (“PII”) of any kind involving any Capital One customer.

 Moreover, GitHub promptly removed the file when it received a takedown request from Capital

 One. Counsel in the Application is aware of these facts.

            As background, only two out of the sixty one complaints consolidated in this action name

 GitHub as a defendant—the Aballo action filed by Ms. Soneji, C.A. No. 1:19-cv-02929 (N.D.

 Cal.), and the Ababseh action filed by other counsel, C.A. No. 2:19-cv-1397 (W.D. Wash.).1

 Shortly after the matters were filed, GitHub’s counsel contacted plaintiffs’ counsel in these two

 outlier matters to explain why their allegations about GitHub were wrong. On August 20, 2019,

 GitHub’s counsel conferred with Ms. Soneji by phone, explaining that the file posted on GitHub

 contained no PII and requesting that she reconsider her decision to name GitHub as a defendant

 1
     The Ababseh action was filed on August 30, 2019, but has not been served on GitHub.

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 in the Aballo complaint.2 Ms. Soneji did not ask for verification of that fact, but had she done so,

 GitHub would have allowed her to confidentially view the file to see for herself that it includes

 no PII. GitHub did precisely this in response to outreach from Rosemary Rivas, who seeks to

 serve as Plaintiffs’ Lead Counsel in these proceedings. See Dkt. 149. As noted in Ms. Rivas’s

 application, GitHub allowed her to confidentially view the file to confirm that it contains no PII

 of any Capital One customer.

            While GitHub defers entirely to the Court’s judgment in selecting Plaintiffs’ Lead

 Counsel and the members of the Plaintiffs’ Steering Committee, it believes that the continuing

 misstatements made in the Application—in the face of directly contrary facts made available to

 counsel—raise serious questions about Ms. Soneji’s investigation of the claims at issue and her

 ability to work cooperatively with other counsel in this matter.




 2
     Plaintiff’s counsel in Ababseh has not responded to GitHub’s attempts to confer.

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 Dated: November 25, 2019                  COOLEY LLP



                                           /s/ Scott W. Stemetzki
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                                  CERTIFICATE OF SERVICE


          I certify that on November 25, 2019, a copy of the foregoing was filed electronically with

 the Clerk of Court using the CM/ECF System, which will then send a notification of such filing

 (NEF) to counsel of record.




                                               /s/ Scott W. Stemetzki                  _
                                               Scott W. Stemetzki




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